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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA



SCOTTSDALE CAPITAL ADVISORS
CORPORATION,

           Plaintiff,

     v.                            Civil Action No. 1:18-cv-2973 (CRC)

FINANCIAL INDUSTRY REGULATORY
AUTHORITY,

           Defendant.



                     REPLY BRIEF OF DEFENDANT
          FINANCIAL INDUSTRY REGULATORY AUTHORITY, INC.
             IN SUPPORT OF MOTION TO DISMISS COMPLAINT




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       Defendant Financial Industry Regulatory Authority, Inc. (FINRA) submits this Reply Brief

in Support of its Motion to Dismiss the Complaint.


I.     INTRODUCTION

       Scottsdale argues that this case presents a simple breach of contract claim, and that federal

jurisdiction exists because the corporate parties are diverse with a damages claim of more than

$75,000. But the FINRA governance provisions that Scottsdale relies upon in support of its

contract claim exist only because of FINRA’s delegated regulatory authority under the federal

securities laws. FINRA is a registered national securities association and is legally required to act

as Scottsdale’s regulator under section 15A of the Securities Exchange Act of 1934, pursuant to

the Exchange Act’s requirement that securities firms such as Scottsdale must be members of a

national securities association in order to engage in a securities business. FINRA member firms

such as Scottsdale are subject to regulatory oversight by FINRA in the exercise of FINRA’s quasi-

governmental authority under the federal securities laws, and FINRA’s activities are subject to

review and oversight by the United States Securities and Exchange Commission (SEC). The fact

that FINRA member firms have membership agreements and that FINRA is a Delaware

corporation with corporate By-Laws does not convert disagreements by regulated member firms

regarding their regulation into private “contract” disputes; all of the issues raised by Scottsdale

involve regulatory matters, not contract claims.

       Contrary to Scottsdale’s statement that “this case has little to do with FINRA’s exercise of

its regulatory authority” (Opp., p. 5), this case has everything to do with FINRA’s exercise of its

regulatory authority. Scottsdale’s Complaint--in which it is seeking damages against FINRA for

its regulatory actions--boils down to Scottsdale’s disagreements with FINRA’s SEC-approved

governance structure and how FINRA is regulating Scottsdale. As such, the Exchange Act requires



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Scottsdale’s claims to be made before the SEC, and bars Scottsdale from filing a “breach of

contract” lawsuit against FINRA in federal district court.

II.    FINRA’S BY-LAWS AND RULES ARE REGULATORY, NOT CONTRACTUAL

       The cases cited by Scottsdale in support of its argument that there is a “contract” between

the parties that can provide the basis for a claim of breach do not support that proposition and are

factually inapposite. See, e.g., Boilermakers Local 154 Retirement Fund v. Chevron Corp., 73 A.3d

934 (Del. Ch. 2013) (enforcing Chevron bylaw requiring litigation relating to Chevron’s internal

affairs be conducted in Delaware); Kaiser Steel Corp. v. Mullins, 455 U.S. 72 (1982) (holding in

action by trustee of pension plan against coal producer to enforce reporting and contribution

provisions of pension plan, coal producer defendant was entitled to adjudication of its defense that

the provisions at issue violated the Sherman Act); Gary Jet Ctr. v. Gary/Chicago Int’l Airport

Auth., No. 2:13-cv-453, 2014 U.S. Dist. LEXIS 45201 (N.D. Ind. Apr. 2, 2014) (considering

whether federal district court had jurisdiction to determine if airport authority was in breach of a

lease with fixed-based operator claiming differential treatment).

       FINRA’s activities regarding its members, such as how it interprets and enforces its Rules

and the Exchange Act, do not provide a basis for breach of contract claims. In the context of cases

finding there is no private right of action by member firms against FINRA discussed in section IV,

infra, the breach of contract argument has been previously raised and rejected. Likewise, FINRA’s

governance structure, set forth in its By-Laws as reviewed and approved by the SEC, is not a

private contract as between FINRA and its members, and cannot be challenged by member firms

in federal district court. See, Standard Investment Chartered v. Nat’l Ass’n of Secs. Dealers, Inc.,

2007 U.S. Dist. LEXIS 32566 (S.D.N.Y. May 2, 2007); appeal dismissed as moot, 560 F.3d 118

(2d Cir. 2009).




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III.    THE EXCHANGE ACT’S EXCLUSIVE REVIEW PROCESS DIVESTS DISTRICT
        COURTS OF SUBJECT MATTER JURISDICTION

        Scottsdale’s first response to the litany of cases holding that federal district courts lack

subject matter jurisdiction over challenges by FINRA member firms to FINRA’s (and other

SROs’) governance and regulatory actions is to argue that FINRA has not disputed that diversity

of citizenship exists between Scottsdale and FINRA. Opp., pp. 5-6.

        According to Scottsdale, because there is complete diversity and Scottsdale has alleged

damages in excess of $75,000, “there is complete diversity, and jurisdiction exists.” Opp., p. 6.

But diversity jurisdiction is irrelevant when Congress has enacted a comprehensive review process

like that in the Exchange Act that acts to divest federal district courts of subject matter jurisdiction.

Indeed, diversity jurisdiction existed in many of the cases cited by FINRA in which the court

dismissed for lack of subject matter jurisdiction, including, as Scottsdale well knows, the

Scottsdale I case. Scottsdale Capital Advisors Corp. v. Fin. Indus. Regulatory Auth., Inc., 844 F.3d

414 (4th Cir. 2016), cert. denied, 137 S. Ct. 1838 (2017). See also, North v. Smarsh, 170 F. Supp.

3d 63, 79 (D.D.C. 2015).

        Scottsdale then argues that the Supreme Court’s decision in Thunder Basin Coal Co. v.

Reich, 510 U.S. 200 (1994), is inapplicable because the instant case has been pled as a breach of

contract claim. Opp., pp. 6-7. According to Scottsdale, for that simple reason, this case is not

subject to jurisdictional divestment under the Thunder Basin doctrine. But there is absolutely no

authority for Scottsdale’s assertion, and application of the doctrine does not depend upon the words

a plaintiff chooses to describe the cause of action in its complaint.

        Next, citing Free Enterprise Fund v. Public Co. Accounting Oversight Bd., 561 U.S. 477

(2010), Scottsdale argues that this case falls into an exception subsequently recognized by the

Supreme Court allowing certain limited types of claims to be pursued in district court if the claims



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are “outside the [SEC’s] competence and expertise,” and they are not “of the type Congress

intended to be reviewed within th[e] statutory structure.” 561 U.S. at 490.

       The claims presented in Free Enterprise, however, were fundamentally different from

Scottsdale’s claims, and those differences make the limited exception recognized in Free

Enterprise inapplicable to this case. First, the challenge in Free Enterprise was to the very

existence of the PCAOB, not to any specific PCAOB rules. 561 U.S. at 490. Second, unlike

Scottsdale, the petitioners in Free Enterprise were not already the subject of a pending disciplinary

sanction subject to appeal through the Exchange Act’s administrative review process. Id.; see Exh.

A to FINRA Motion. Third, again unlike the issues raised by Scottsdale, the Court found the issues

raised by the constitutional challenge to the PCAOB’s existence to be wholly outside of the SEC’s

expertise, with no “technical considerations of agency policy.” Id. at 491.

       It is obvious that every matter presented as an element of Scottsdale’s “contract” claim

relates to regulatory matters that fall squarely within the SEC’s expertise and competence and

either have already been considered by the SEC or have been presented by Scottsdale in other

proceedings for the SEC’s review and decision. As described in FINRA’s opening brief, the SEC

has already reviewed and approved the composition of FINRA’s Board of Governors challenged

in Scottsdale’s Complaint. Complaint, para. 33-36. The other issue served up by Scottsdale here

as a contract claim, whether FINRA has engaged in “ultra vires” regulatory actions, is the subject

of a pending SEC appeal by Scottsdale of a FINRA disciplinary proceeding. Complaint, para. 52-

61; Application for Review, Exh. A to FINRA Motion, p. 9 at n. 29 (“This point has been addressed

in prior briefing … and will be addressed in the appellate briefs in this matter.”). And finally, the

issue of whether FINRA is inappropriately using guidance to burden competition in the penny

stock marketplace also falls squarely within the SEC’s oversight responsibility. Complaint para.




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37-51. Scottsdale knows this to be the case, as evidenced by its sister firm’s filing of a Petition for

Rulemaking with the SEC raising that issue as well as other matters in its Complaint at the same

time this lawsuit was filed. Exh. B to FINRA Motion, Petition for Rulemaking at pp. 9-12 and 13

(e.g., “FINRA Rules Should Prohibit the Improper Issuance and Use of ‘Guidance’”).

       The Exchange Act contains detailed provisions regarding the structure, governance, and

regulatory activities of a national securities association, and provides for extensive oversight by

the SEC, as set forth in FINRA’s opening brief. Every court to have considered the question has

recognized the requirement that Congress intended for the SEC to use its special expertise as the

primary government agency enforcing the federal securities laws to review and approve all

proposed changes to FINRA’s By-Laws and Rules and to oversee all of FINRA’s regulatory

activities in the first instance. “The self-regulatory organizations exercise authority subject to SEC

oversight. They have no authority to regulate independently of the SEC’s control.” NASD v. SEC,

431 F.3d 803, 807 (D.C. Cir. 2010), quoting, S. REP. NO. 94-75, at 23 (1975), as reprinted in

U.S.C.C.A.N. 179, 201. To permit parties to bypass this regulatory scheme simply by calling their

challenges breach of contract claims would be directly contrary to the process established in the

Exchange Act, would effectively take the SEC out of the process, and as a practical matter, would

make most of FINRA’s regulatory activities subject to federal district court litigation that could be

brought by any of its thousands of regulated firms. Plaintiff’s Complaint should be dismissed.

IV.    SCOTTSDALE HAS NO PRIVATE RIGHT OF ACTION AND FINRA HAS
       IMMUNITY FROM SCOTTSDALE’S CLAIMS FOR DAMAGES

       Scottsdale’s opposition to FINRA’s no private right of action defense is based upon the

same erroneous assertion that FINRA’s By-Laws and the member firm agreement constitute a

“contract” with Scottsdale “separate and apart from any provision of the Exchange Act.” Opp., p.

11. But the only reason FINRA’s By-Laws and membership agreements are in place is to allow



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FINRA to exercise its delegated regulatory authority under the Exchange Act. There certainly is

nothing in the Complaint or Scottsdale’s “contract” claim that is “separate and apart from the

Exchange Act.” To the contrary, every single matter made the subject of Scottsdale’s Complaint

refers to or purports to be based on the Exchange Act.

           The Exchange Act does not include a private right of action for securities firms like

Scottsdale to challenge FINRA’s regulatory activities by filing suit in district court. Likewise,

Scottsdale’s quest to change FINRA’s regulation of the penny-stock market goes to the heart of

FINRA’s regulatory function, regardless of the words Scottsdale chooses to describe the process.

The court in MM&S Financial, Inc. v. NASD, 364 F.3d 908, 912 (8th Cir. 2004), rejected a similar

argument made by another member firm to characterize its claims as a “breach of contract:”

             Any attempt by MM&S to bypass the Exchange Act by asserting a private
             breach of contract claim for violations of section 78s(g)(1) is fruitless.
             See, e.g., Lowe v. NASD Regulation, Inc., No. 99-1751, 1999 WL
             1680653, at *4 (D.D.C. Dec. 14, 1999) (holding breach of contract
             allegations "that the NASD violated its own rules... invok[ed] statutory
             federal jurisdiction under 15 U.S.C. § 78aa"); Niss, 989 F.Supp. at 1308
             (holding plaintiff's breach of contract claim against NASD failed, because
             it was simply "an attempt to evade the doctrine that no private right of
             action exists against the NASD for failing to supervise its members
             adequately").


           Scottsdale attempts to distinguish this and other cases cited by FINRA, again by

characterizing them as “regulatory,” and its own claims as “contractual.” But the Complaint

addresses activities that go to the heart of FINRA’s regulatory functions, and Scottsdale does not
                                                                       1
have a private right of action to challenge them in this Court.




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    FINRA’s By-Laws contain provisions governing their amendment—provisions that Scottsdale chooses to
    ignore in its insistence that litigation is its only option. See, FINRA By-Laws, Art. XVI, Sec. 1, Procedure
    for Adopting Amendments to By-Laws.


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       Scottsdale’s opposition to FINRA’s immunity defense is similarly flawed. Scottsdale cites

cases for the unremarkable proposition—not applicable here—that SRO immunity covers an

SRO’s regulatory functions, but not private business activities unrelated to its regulatory functions.

See, e.g., City of Providence v. Bats Global Markets, 878 F.3d 36 (2d Cir. 2017); Weissman v.

Nat’l Ass’n of Secs. Dealers, Inc., 500 F.3d 1293 (11th Circuit 2007); Sparta Surgical Corp. v.

Nat’l Ass’n of Secs. Dealers, Inc., 159 F.3d 1209 (9th Cir. 1998). According to Scottsdale, entering

into contracts is an activity engaged in by private parties “all the time, and it bears little

resemblance to any of the authority delegated to FINRA under the Exchange Act.” Opp., p. 12.

       This argument collapses upon even a cursory consideration of its underpinnings.

Scottsdale’s claim is not that FINRA has failed to pay for office supplies under a commercial

contract—all of the matters being challenged are regulatory activities, conducted pursuant to the

Exchange Act, and subject to review and regulation by the SEC. Scottsdale conflates hypothetical

non-immune commercial activity with regulatory activity that Scottsdale disapproves of. But the

law does not, and Scottsdale’s claims against FINRA are barred by the doctrine of immunity.

V.     CONCLUSION

       For the foregoing reasons, FINRA moves the Court to grant its Motion to Dismiss, and

for such other and further relief to which it may be entitled.




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                                  CERTIFICATE OF SERVICE


        I hereby certify that on this 4th day of March, 2019, I filed the foregoing Reply Brief with

the Clerk of the Court using the CM/ECF system, which will send notification of such to the

attorneys of record for all parties.


DATED:          March 4, 2019




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